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                               DNITED   STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                     Newport News Division

  DAVID ANTHONY RDNYON,


                 Petitioner,

                                                                      CIVIL NO.     4:15cvl08
        V.                                         [ORIGINAL CRIMINAL NO.           4:08crl6-3]

  UNITED STATES OF AMERICA,

                 Respondent.

                                              OPINION


        This     matter    comes       before      the   court       on   the   Motion   Under   28


  U.S.C.     §   2255     to    Vacate,       Set     Aside,         or   Correct    a    Sentence

  ("Motion"),       filed       by    David        Anthony      Runyon      ("Petitioner")       on

  February 4, 2016. ECF No. 511.^ Further before the court are the

  Petitioner's          First          Motion         for        Discovery,           filed      on

  December 9, 2015,         ECF No.         491,    and Second Motion for Discovery,

  filed on April 1, 2016. ECF No. 530. All matters have been fully

  briefed and are          ripe       for    decision.         For    the   reasons      contained

  herein,    the First Motion for Discovery is DENIED, and the Second

  Motion for      Discovery          is DENIED.          The   Motion to Vacate brought

  pursuant to 28 U.S.C.              § 2255 is DENIED.




        ^ The Petitioner filed his original Motion under 28 U.S.C.
  § 2255 on October 5,            2015,      ECF No.      478,   after which he filed an
  amended Motion on February 4,                     2016.      ECF No.      511.    This amended
  Motion is the operative pleading. See infra Part II.
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                                 I. FACTUAL BACKGRODND^

          On April 29,        2007,    Cory Allen Voss         ("Voss"), an officer in

  the     United     States    Navy,    was     murdered.      At    the    time,        Voss    was

  married       to   Catherina        Voss     ("Cat") ,    and     the    couple        had     two

  children,      ages eight and seven.            He was stationed out of Norfolk

  Naval Base,        and lived in Newport News,               Virginia,      with his wife

  and     children.     On    April     29,     2007,   Voss      returned      home       from    a

  twenty-four hour shift aboard the USS Elrod,                        where he served as

  the Communications Officer.                 That night.     Cat asked Voss to go to

  the     ATM   at   Langley     Federal       Credit      Union     ("LFCU")       in    Newport

  News,    Virginia.     The next morning,              Voss was      found dead in his

  truck,    after being shot five times with a                      .357 revolver as part

  of a murder-for-hire conspiracy. The facts neither start nor end

  here.


          Testimony presented at trial revealed that in 2006,                               while

  Voss was at sea on a six-month deployment.                         Cat began having an

  extramarital        affair    with    Michael     Draven        {"Draven").       After       Voss

  returned      home    from    that     deployment.        Cat     and    Cory   Voss      began

  experiencing financial difficulties,                     and the affair between Cat


          ^ The following is a summary of the voluminous evidence
  presented to the jury, both through testimony and exhibits,
  during the guilt phase of trial. The appellate process is
  complete, and the case is now on collateral review. See infra
  Part    II.
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  and Draven remained ongoing.                  Cat had no independent source of

  income,       and Draven had no             regular employment,                but     earned some

  money from participating in experimental clinical drug studies.

  Cat and Draven realized that if they were to stay together,                                       and

  have the money to live the lavish lifestyle they wanted,                                         they

  needed to get rid of Voss.                    As    a    member of           the United States

  Navy,       Voss    had a    life    insurance policy through the                        Office of

  Servicemember's Group Life Insurance                          ("SGLI"),        which named Cat

  as    the     primary     beneficiary.             Once      Voss      was    dead,      Cat    would

  receive        the     $400,000      SGLI      life          insurance        policy      benefit,

  together with other Navy spousal benefits.

          Cat    and    Draven    decided       that        the    best     way     to    accomplish

  their goal          was   to hire      someone          to   commit      the    actual murder.

  Draven        had      met     David        Anthony          Runyon          ("Runyon")         while

  participating in experimental                  clinical drug trials,                    and Draven

  now reached out to Runyon about                     joining the conspiracy.                    Runyon

  was     a    former    police officer and                former member of               the    United

  States Army,          as well as a          firearm enthusiast. Runyon agreed to

  act     as    the    triggerman,       in    exchange         for      payment.        Once    Runyon

  agreed       to participate,         phone     records          show    that    the     defendants

  began to commvinicate and plan how to commit the crime.

          On April       20,   2007,    Cat Voss opened an account with LFCU,

  into which she deposited only five dollars.                               On April 29, 2007,
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  the     day   of    the    murder,        Runyon      bought      a     .357    magnum        Taurus

  revolver from George Koski in Morgantovm,                             West Virginia,           where

  Runyon       was    then    living.       Koski    testified           that     he   wrote      down

  Runyon's driver's license number and phone number,                                   and he also

  provided       Runyon       with       some     old        ammunition.          Koski     further

  testified that the type of gun he sold Runyon could shoot both

  .357    magnum and         .38   special      cartridges.         That    same day,           Runyon

  drove from Morgantown to Newport News, Virginia,                               to complete his

  part    of    the    crime.       He   stopped        at     payphones         along    the     way,

  including one at            a    Newport News          Waffle House,            to communicate

  with     Draven,       and        Draven       provided         him      with        identifying

  information         about        Voss's       truck.         Runyon      wrote         down     this

  information on a            map of      the    Hampton Roads            area,     which police

  later discovered           in Runyon's         car.     Phone     records        also    indicate

  multiple calls between Draven and Cat Voss during this same time

  span.


          Later on the        night      of April        29,    2007,     around 11:00 p.m..

  Cat sent Voss to the ATM at LFCU.                      At approximately 11:31 p.m.,

  Voss    attempted      a    transaction         but     entered        the     wrong     personal

  identification number.              Surveillance             footage    and phone         records

  reveal that Voss was talking to Cat on his cell phone at this

  time.    At   around 11:33 p.m.,              while Voss was            still at         the ATM,

  video shows         that    an assailant          wearing a           black hoodie        climbed
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  into Voss's truck. Voss reentered his truck at around 11:36 p.m.

  and     began   to    drive    away     from   the   ATM,   before       returning      at

  approximately 11:41 p.m.              to attempt three withdrawals.              All the

  withdrawals          were     denied     for    insufficient       funds,        because

  unbeknownst     to     Voss,    Cat    had placed only      five       dollars   in    the

  account. Voss then got back in his truck and drove away. He was

  found dead in his           truck      the next morning     in a       nearby parking

  lot.    He had been shot five times,            with three of the shots being

  fatal.    Four hollow-point bullets and one jacket were recovered.

  The bullets were identified as               .38 class, which can be used with

  guns capable of firing .357 magnum and .38 special cartridges.

          Just a few days after the murder,             Runyon checked back into

  a clinical drug study, and ordered online a stainless steel bore

  brush, which is used to clean the inside of the barrel of a gun,

  to be shipped to his West Virginia address,                    but under a         false

  name.    Expert testimony revealed this              type of brush can impact

  examinations         that   attempt     to   link bullets    to    a    specific      gun.

  Testimony also revealed that in the Fall of 2007,                        Runyon had a

  friend pawn his .357 Taurus magnum revolver several times. Then,

  in December 2007,           Runyon instructed his friend to retrieve the

  firearm from the pawn shop one last time,                   and to give the gun

  back to him. The police were unable to locate the gun after its

  return to Runyon.
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        While the police were beginning the investigation into the

  crime,    the defendants were working together to hide evidence of

  the murder. Although Cat had received an initial $100,000 death

  gratuity    benefit    from    the    United    States       Navy,    which    she     and

  Draven quickly spent,         she had yet to receive the $400,000 life

  insurance benefit on Voss.           In order to receive the full payout.

  Cat had to clear herself from suspicion,                   and emails and wiretaps

  showed    that   the   defendants      coordinated         amongst     themselves       to

  align their alibis and hide their relationships with each other

  from the investigators.

        During police     interviews,       the defendants gave conflicting

  stories    and   attempted     to     obstruct       the    investigation.       Runyon

  denied owning any firearms,            and he was unable to confirm his

  whereabouts on April 29 and 30, 2007. All of the parties denied

  the   relationship     between       Draven    and    Cat    for     several    months,

  although Draven did eventually admit the affair to the police.^
  Both Draven and Runyon stated they had met or called each other

  from a Waffle House in Newport News during the Spring of 2007.

  Draven further admitted that Rimyon used the payphone                          there    to



        ^ Cat admitted the relationship when she pled guilty, as set
  forth in her Statement of Facts accompanying her plea agreement.
  Case No. 4:08crl6-l, ECF Nos. 69, 70. Both the plea agreement
  and Statement of Facts were admitted into evidence by defense
  counsel, during the mitigation phase of trial. Def. Exs. 4, 7.
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  talk    with       him    on     the     night        of     the    murder,         although     Draven

  claimed that Runyon stopped at the Waffle House on his way to an

  out-of-state fishing trip.

          In    December         2007,     nearly       eight        months       after    the    murder,

  police       executed         search warrants              in West       Virginia       for    Runyon's

  residences,        vehicle,       and storage unit,                 and the contents of the

  search were introduced during the guilt phase of trial.                                          In the

  console      of    Runyon's       car,        agents       found    a     map    of    Newport    News,

  Virginia,         on which Runyon had written                        the      following:        "Langley

  Federal      Credit Union,             97   grey Ford Ranger,                 FL hubcap missing,

  tailgate       down,     J.     Morris        Blvd,        Cory,"       The   description of           the

  Ford    Ranger         matched     the      description            of    Voss's       truck,     and    J.

  [Clyde]      Morris      Boulevard is a               street near             the     LFCU that Voss

  went to on the night he was murdered.                               Also found with the map

  was a photograph of Cat and Draven, with their names, addresses,

  and social security numbers written on the back.

          In Runyon's residence,                 the investigators located a shopping

  list written by Runyon,                  which included a taser,                    Spyderco knife,

  tarp,     trash        bag,     boots,        gloves,       military-style             pants,     and    a

  black hoodie. Runyon had also written on that list the location

  of   LFCU,        and    travel        time    and      mileage          from    Morgantown,       West

  Virginia,         to     Newport        News,         Virginia.           Although       Runyon        had

  apparently requested a payment of five hundred dollars                                         ($500) up
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  front    for     the    murder,    a        Western Union          receipt       indicated           that

  Runyon       received     two    hundred           seventy-five          dollars       ($275)        from

  Draven's       brother.     Randy           Fitchett,       on    June     1,    2007.        Fitchett

  testified,       and while he denied that he sent the money order,                                     he

  recalled going with Draven to send the money order to a                                            friend

  of Draven's. Additionally,                   the police found boxes of .38 special

  and     .357    magnum     bullets          in     the    basement        of    Runyon's           former

  residence."*      Five     of     the       Winchester           .357    magnum hollow-point

  bullets were missing from the box,                        and medical reports revealed

  that Voss        had been shot              five    times      by hollow-point               .38   class

  bullets.        Expert     witness           testimony         provided         that       .38     class

  bullets       include     .357 magnum and                .38   special bullets.               Multiple

  witnesses also testified that Runyon had bragged about killing

  Voss,    or a     military member or other unidentified person,                                       for

  money.


          In     February    2008,        a     five-count         Indictment          was      returned

  against       Runyon,     Cat,    and Draven.             Although Cat           pled guilty in

  exchange for a           life sentence,            the above facts were established

  through evidence and testimony during the trial against Runyon



          * At the time of the search,                        Runyon had moved to a                    new
  address in Morgantown,   West Virginia.   Agents searched both
  Runyon's current and former residences, and the residents at his
  former       address    indicated       that       the   bullets        found   in     the    basement
  belonged to Runyon.
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  and Draven.         The jury then found Runyon guilty of Conspiracy to

  Commit       Murder     for    Hire,      Carjacking             Resulting         in     Death,     and

  Murder with a         Firearm in Relation to a                Crime of Violence.



                                    II.   PROCEDURAL HISTORY


          On    February      13,     2008,      a     federal         grand        jury    returned      a

  five-count          Indictment           against        the           Petitioner           and       his

  co-defendants,         Michael Draven and Catherina Voss,                           in the murder

  of    Cat    Voss's     husband,        Cory Voss.          ECF       No.    3.    The     Indictment

  charged       the    defendants         with       Conspiracy         to    Commit        Murder     for

  Hire,        in   violation        of    18        U.S.C.        §    1958 (a)       (Count        One) ;

  Carjacking Resulting in Death,                     in violation of 18 U.S.C. §§ 2119

  and 2       (Count Two); Bank Robbery Resulting in Death,                                in violation

  of 18 U.S.C.        §§ 2113(a),         (e), and 2          (Count Three); Conspiracy to

  Commit       Robbery    Affecting        Commerce,          in       violation       of    18    U.S.C.

  § 1951(a)         (Count Four); and Murder with a                     Firearm in Relation to

  a    Crime of Violence,           in violation of 18 U.S.C.                       §§ 924 (j)     and 2

  (Count Five).         Id.

          The Indictment also included a                      Notice of Special Findings

  for the death penalty,              pursuant to 18 U.S.C.                    §§ 3591 and 3592.

  Id.   at 13-14.       The Notice set out the statutory requirements for

  the death penalty:            the defendants were more than eighteen years

  old at the time of the offense;                      there was the requisite intent
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   to   cause      death,      serious        bodily        injury,      or    engage      in     acts     of

  violence using lethal force or knowingly creating a                                          grave risk

  of    death;       and    there      were        statutory       aggravating           factors.         Id.

  at 13,      As     to    Counts        One,      Two,      Three,      and     Five,         all      three

  defendants were found to meet the statutory aggravating factors

  of    having        "committed         the       offense        as    consideration            for      the

  receipt,      or in the expectation of                      the receipt,           of anything of

  pecuniary          value,"      and         having        "committed        the    offense           after

  substantial planning and premeditation to cause the death of a

  person." Id. at 13-14. Additionally,                            for those same counts,                  the

  grand    jury       found      Cat     Voss      and Draven          satisfied         the    statutory

  aggravating           factor    of     having        "procured        the    commission of              the

  offense       by      payment,       or      promise       of    payment,         of    anything         of

  pecimiary value." Id. at 14 .

         On March 4,           2008,     Lawrence Woodward and John Babineau were

  appointed        to     represent         the    Petitioner.          On July 17,             2008,     the

  government         filed     its     Notice       of      Intent      to    Seek a       Sentence        of

  Death against the Petitioner.                        ECF No.         67.    The government also

  filed a Notice stating that it would not seek the death penalty

  against Draven.            Case No.         4:08crl6-2,         ECF No.      68.       Cat Voss pled

  guilty to all five counts the following day on July 18, 2008.

         On      February          13,        2009,         Babineau         withdrew          from       the

  Petitioner's          case     due     to    a   conflict       of    interest,         and    attorney


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   Stephen Hudgins was appointed. ECF No. 161. The Petitioner filed

   various pre-trial motions and reports,® and on June 30, 2009, the

   jury       trial        against       the        Petitioner             and    Draven       commenced.            The

   first       two     days        consisted              of        voir     dire,      and    the     jury          was

   impaneled on July 2,                      2009,        after which opening statements and

   the    presentation of                   evidence           began.      On     July 15,         2009,        at   the

   conclusion          of       all    evidence,           the        court      dismissed          Count       Three,

   pursuant           to        Federal        Rule            of     Criminal          Procedure           29.       On

   July 17, 2009,               the jury found the Petitioner and Draven guilty

   as    to    Counts        One,      Two,         and    Five,       and       not    guilty as          to    Coxint

   Four.      Verdict        Form,      ECF No.           245,       attached hereto as               Exhibit A.

   On    July        22,     2009,       the        trial       continued          with       the    eligibility

   phase,       in which the government argued that the Petitioner was

   eligible to receive the death penalty.                                       The jury found that the

   Petitioner intentionally killed Cory Voss.                                          Special Verdict Form

   -    Eligibility Phase,                  ECF No.        255, attached hereto as Exhibit B.

   The        jury     also           found         two     statutory             aggravators;             {1)       the

   Petitioner              "committed          the        offense          in     consideration            for       the

   receipt       of,       or    in expectation of                     the      receipt,      of     anything of

   pecuniary value";                  and     (2)    the Petitioner "committed the offense

           ® Due to the large volume of filings,                                        the court will not
   review all the motions and reports at this point. To the extent
   the filings relate to this Motion, they will be discussed at
   such point as they are relevant to the claims for relief.


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   after siibstantial planning and premeditation to cause the death

  of a     person."        Id.    On August 19, 2009,              the penalty phase of the

   trial      commenced.          On    August        27,     2009,     the    jury        returned    a

   recommendation           for       death     on     Counts     One    and    Five,        and    life

   imprisonment        on    Count       Two.        Special      Verdict      Form    -    Selection

   Phase, at 5,       ECF No.          291, attached hereto as Exhibit C. The jury

   found four non-statutory aggravating factors. Id.^ The jury also

   found      two statutory mitigating factors                        and eight non-statutory

  mitigating circumstances proposed by defense counsel, along with

   finding three mitigating factors of their own accord.                                      Id.'' On


           ® The non-statutory aggravating factors found by the jury
  were that the Petitioner (1) caused injury, harm,                                    and loss to
  the victim, and the victim's family and friends;                                     (2) utilized
   training,  education,  and experience gained during criminal
   justice college courses, his time in the Kansas National Guard,
  his work as a            law enforcement officer,                   and his experience as a
  member of the United States                              Airmy; (3) engaged in acts of
  physical abuse towards women;                            and (4) demonstrated a lack of
  remorse. Special Verdict Form - Selection Phase, at 1-2, ECF No.
   291.


           ' The statutory mitigating factors found by the jury were
   that    (1)    the Petitioner did not have a                       serious criminal record,
  and {2) other persons equally culpable in the crime will not be
  punished by death. Special Verdict Form - Selection Phase,
  at 1-2,        ECF No.    291.
       The non-statutory mitigators presented by defense counsel,
  and found by the jury, were that (1) the Petitioner will serve a
  sentence of life in prison without the possibility of release,
   if   not      sentenced       to    death;        (2)    the   Petitioner     has       worked   and
  been legally employed for all of his life; (3) the Petitioner
  committed acts of kindness and generosity for his neighbors and
  community;   (4)  the  Petitioner  grew   up,   witnessed,  and


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   December 4, 2009, pursuant to the jury's verdict,                                         the Petitioner

   was        sentenced       to    death    for       Counts        One    and        Five    and    to     life

   imprisonment without the possibility of release for Count Two.

   ECF No. 313.®

              The      Petitioner           timely            filed         an         appeal,        and      on

   February 25, 2013,               the Fourth Circuit Court of Appeals affirmed

   his    conviction and sentence.                     United States              v.     Runyon,     707     F.3d

   475        (4th    Cir.    2013) .      On     October       6,     2014,           the    Supreme       Court

   denied his           petition for            writ     of    certiorari.              Runyon v.       United

   States,          135 S.    Ct.   46     (2014)      (No.    13-254). The Petitioner filed

   experienced domestic violence and parental conflict until his
   mother and biological father separated; (5) the Petitioner's son
   will suffer emotional harm,                      if    the Petitioner is executed;                         (6)
   the Petitioner's mother will suffer emotional harm,      if the
   Petitioner is executed; (7) the Petitioner served his country as
   a member of the United States Army and was honorably discharged;
   and (8) the Petitioner graduated from high school, earned an
   associate of arts degree, and took further college courses. Id.
   at    3-4.
              The    jury     also       found      the       following           three        non-statutory
   mitigating          factors       of     their      own     creation:           (1)       the    Petitioner
   continued           to     witness       and     experience              domestic           violence       and
   parental conflict/abuse from his mother and adoptive father;                                               (2)
   the Petitioner's brother will suffer emotional harm,  if                                                   the
   Petitioner is executed; and (3) the Petitioner was given                                                   the
   impression that Cory Voss was molesting his                                         own daughter.          Id.
   at    4.


              ® Cat Voss was sentenced to life in prison on Counts One,
   Two,       Three,        and    Five,    and     twenty       (20)        years        imprisonment         on
   Count        Four.        Case    No.     4:08crl6-l,              ECF        No.    127.       Draven    was
   sentenced to life in prison on all counts of conviction. Case
   No. 4:08crl6-2, ECF No. 304. Both of these cases are closed, and
   the convictions and sentences are final.



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   his    Motion        Under       28    U.S.C.         §       2255   to    Vacate,        Set     Aside,      or

   Correct        a    Sentence           on     October           5,   2015.        ECF     No.        478.    The

   government filed its Response on January 11,                                      2016,       ECF No.       497,

   and the        Petitioner filed his Reply on March 28,                                       2016.    ECF No.

   526.


           On December 9,            2015,        the Petitioner filed his First Motion

   for     Discovery.          ECF        No.      491.           The   government           submitted          its

   Response       on January 15,                 2016,       ECF No.         500,    and the         Petitioner

   filed    his       Reply     on       January         29,       2016.     ECF     No.     506.       Both    the

   Response and the Reply to the Discovery Motion incorporated the

   Response and Reply to the § 2255 Motion. On April 1,                                              2016,      the

   Petitioner filed his Second Motion for Discovery.                                             ECF No.       530.

   The government filed a                      Response on April 8,                  2016,       ECF No.       532,

   and    the     Petitioner             siibmitted          a    Reply      on     April 13,        2016.      ECF

   No.    533.


           On February 4, 2016,                   the Petitioner filed an amended Motion

  Under      28       U.S.C.    §        2255     to     Vacate,        Set       Aside,        or   Correct      a

   Sentence.          The    government            filed          its     Response         to    the      amended

  Motion on April 22,                    2016.    The Petitioner submitted his Reply to

   the amended filings on July 7,                            2016. As Fourth Circuit precedent

  provides that an amended pleading supersedes the original,                                                    the

  court     will       now     consider           the    amended           Motion     and       corresponding

  Response and Reply. See Young v.                                City of Mount Ranier,                 238 F.3d

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   567,   573       (4th Cir. 2001)         ("[A]n amended pleading supersedes the

   original         pleading,        rendering        the   original           pleading        of    no

   effect.").' The           court      will also        consider the          First and Second

   Discovery Motions in the same sections as                             the claims       to which

   each discovery request relates.


                                  III.    STANDARDS OF REVIEW



          A.   MOTIONS BROUGHT PURSUANT TO 28 U.S.C.                      §    2255


          A prisoner may challenge a                     sentence    imposed by a          federal

   court,      if    (1)   the sentence violates the Constitution or laws of

   the United States;             (2)   the sentencing court lacked jurisdiction

   to impose the sentence;                 (3)    the sentence exceeds the statutory

   maximum; or (4)           the sentence "is otherwise subject to collateral

   attack."         28 U.S.C.     § 2255(a).        A sentence is             "otherwise subject

   to collateral attack" if a petitioner shows that the proceedings

   suffered from "'a fundamental defect which inherently results in

   a complete miscarriage of justice.'" United States v. Addonizio,

   442    U.S.      178,    185   (1979)         (quoting Hill      v.    United States,            368

   U.S. 424,        428    (1962)) .

          The petitioner bears               the     burden of       proving one          of    those

   groxinds by a preponderance of the evidence. See Miller v. United

          ' All citations in this Opinion will refer to the amended
   pleadings unless otherwise specified.


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   States,     261 F.2d 546,         547       (4th Cir.    1958) .      If he satisfies that

   burden,     the       court     may        vacate,     set        aside,        or     correct        the

   sentence.      28     U.S.C.     § 2255(b).          However,        if    the        motion,     when

  viewed against the record,                   shows that the petitioner is entitled

   to no relief,         the court may summarily deny the motion. Raines v.

   United States, 423 F.2d 526,                  529    (4th Cir. 1970).

                  1.    Ineffective Assistance of Cotmsel


          In   cases       where     a        petitioner        claims        to        have     received

   ineffective         assistance         of    counsel        as    grounds        for        relief,     a

  petitioner must             show by a         preponderance of              the       evidence     that

   (1) the     attorney's          performance           was        deficient;           and     (2) such

   deficient performance prejudiced the petitioner by undermining

   the    reliability         of    the       judgment     against       him.           Strickland        v.

   Washington,         466 U.S.    668,    687    (1984).

          To    show       deficient           performance,           counsel's           actions         or

   omissions       must       be    measured           against        what         "an     objectively

   reasoncdDle         attorney     would       have     done       under     the        circumstances

   existing at the time of the representation."                               Savino v. Murray,

   82 F.3d 593,         599     (4th Cir,       1996);     see Lawrence v.               Branker,        517

   F.3d    700,        708-09      {4th Cir.       2008)        (noting        that        this     is     a

   "difficult"         showing for a           petitioner to make).                 The court must

   attempt to "eliminate the distorting effects of hindsight," and

   instead      "must      indulge        a     strong      presumption             that       counsel's

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   conduct    falls within the wide range of                          reasonable professional

   assistance," Strickland, 466 U.S. at 689.

         To    demonstrate          prejudice,           a     petitioner           must        show         "a

   reasonable        probability         that,   but         for    counsel's       unprofessional

   errors,    the result of the proceeding would have been different."

   Id. at 694.       In doing so, a petitioner "must demonstrate that the

   error worked        to his     *actual and substantial                     disadvantage, '               not

  merely      that    the   error        created    a        'possibility          of    prejudice.'"

  Satcher v.         Pruett,    126      F.3d 561,        572       (4th Cir.       1997)       (quoting

  Murray      v.     Carrier,       477     U.S.        478,        494     (1986)).          Because         a

  petitioner must           satisfy both parts                 of    the     Strickland             test,     a

   failure to carry the burden of proof as to one prong precludes

   relief and relieves the court of the duty to consider the other.

  Strickland,        466 U.S. at 700.

         Due process of law also requires that a                               defendant receive

   effective        assistance      of     covinsel      on        direct    appeal.          Evitts         v.

  Lucey,      469    U.S.    387,     396-97       (1985).          As     with    trial        coimsel,

  effectiveness of          appellate counsel                 is    evaluated under the                     two

  prongs of Strickland.               See Smith v. Murray,                  477 U.S.         527,    535-36

   (1986). To determine effectiveness of appellate counsel,                                         a court

  must     evaluate     whether       counsel       failed           to    raise        "a    particular

  nonfrivolous issue            [that]     was clearly stronger than issues that

  coxinsel    did present"          on direct           appeal.       Smith v.           Robbins,           528

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   U.S.    259,       288    (2000).    However,          appellate counsel need not raise

   every        nonfrivolous          claim     in    their      brief.        See     id.;      Jones     v.

   Barnes,       463     U.S.    745,     753    (1983)       ("A brief         that       raises       every

   colorable issue runs the risk of burying good arguments.").                                             As

   to prejudice,            the Petitioner must show "a reasonable probability

   that, but for covinsel's \inprofessional errors,                              the result of the

   proceeding           would    have     been       different."          Strickland,            466    U.S.

   at    694.


                   2.    Procedural Default


           Claims that could have been "fully and completely addressed

   on     direct         review        based         on    the     record"           are      considered

   procedurally             defaulted,     if    raised          for    the    first        time    during

   collateral         review.     Bousley v.          United States,            523 U.S.         614,     622

   (1998).       In     order    to     obtain       collateral         relief       based    on       issues

   that could have been raised on direct appeal,                                 but were not,            the

   movant        must       ordinarily        show        "'cause'       excusing          his

   procedural default," and "'actual prejudice'                                resulting from the

   errors of which he complains." United States v.                                   Frady,      456 U.S.

   152,    167-68       (1982);       see also Massaro v.               United States,           538 U.S.

   500,    504     (2003)       (" [C] laims not          raised on direct appeal may not

   be raised on collateral review unless the petitioner shows cause

   and    prejudice.").            "The    existence          of       cause     for    a     procedural

   default must turn on something external to the defense,                                         such as

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   the novelty of the claim or a                      denial of effective assistance of

   counsel."      United States v.              Mikalajunas,            186     F.3d 490,        493    (4th

   Cir. 1999). Prejudice is shown when the alleged errors worked to

   the petitioner's "actual and s\abstantial disadvantage,                                       infecting

   his     entire      trial       with    error       of     constitutional                  dimensions."


   Frady,      456 U.S.      at 170.

           Even in the absence of cause for the procedural default and

   resulting prejudice,             a     defendant may proceed with a                          collateral

   attack,      if he is able to show that a                      fundamental miscarriage of

   justice       would result           were    his    claim       denied.         United States          v.

   Maybeck,       23   F.3d     888,      892    (4th      Cir.        1994).      To    demonstrate       a

   "miscarriage         of     justice,"        the        petitioner           "must         show    actual

   innocence by clear and convincing evidence."                                      United States v.

   Williams,       396 F, App'x 951,             953       (4th Cir.          2010)      (\inpiiblished) ;

   Mikalajunas,        186 F.3d at 493.

                  3. Bar on Relitigating Claims Brought on Direct Appeal

           A    petitioner         is    generally          not    permitted             to     relitigate

   issues       brought       on    direct       appeal           in     a     collateral            attack.

   Boeckenhaupt        v.     United States,            537    F.2d          1182,      1183    (4th    Cir.

   1976)       (per curiam). Accordingly, courts may "refuse to reach the

   merits of a         constitutional claim previously raised and rejected

   on    direct     appeal."       Withrow v.          Williams,             507   U.S.       680,    720-21

   (1993)       (Scalia,     J.,    concurring in part and dissenting in part)

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   (collecting cases).               Exceptional circumstances,                         however,       such as

   an intervening change in the law,                            may warrant a departure from

   this   law-of-the-case doctrine.                      See Davis          v.    United States,              417

   U.S.   333,     342-47       (1974)          (holding that when relevant substantive

   law    changed        after           the     petitioner's          trial           and     unsuccessful

   appeal,    the petitioner could file a § 2255 motion for collateral

   relief    based on          the       intervening change              in       the    law);        Jones    v.

   United States, 178 F.3d 790,                        796    (6th Cir. 1999)            ("It is equally

   well    settled       that        a    §     2255     motion       may        not    be     employed        to

   relitigate      an        issue       that    was     raised and          considered on direct

   appeal     absent         highly        exceptional              circumstances,             such     as     an

   intervening change in the law.").

                  4.    Retroactive Application of                       New Rules             to     Cases    on
                  Collateral Review


          Generally,          "new constitutional rules of criminal procedure

   will not be applicable to those cases which have become final

   before    the       new    rules       are    announced."          Teague       v.    Lane,        489    U.S.

   288,     310    (1989).       There           are     two    exceptions             to      this    bar     on

   retroactivity.            First,       "[n]ew substantive rules generally apply

   retroactively." Schriro v.                     Summerlin,          542 U.S.          348,    351     (2004) .

   The    other        exception           is     for        "'watershed          rules        of     criminal

   procedure'      implicating the fundamental fairness and accuracy of

   the    criminal       proceeding."             Saffle       v.    Parks,       494       U.S.      484,    495



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   (1990) .    Only if      one of        these       exceptions          is met    may     a       court

   retroactively apply a new rule of criminal procedure to a case

   on collateral review.


                5.     Evaluation         of     New       Claims     Contained       in    Amended
                Pleadings

         To be timely, a motion brought pursuant to 28 U.S.C. § 2255

   must be filed within one year of the latest of

         (1)    the    date     on   which           the       judgment    of     conviction
        becomes final;

        (2) the date on which the impediment to making a
        motion created by governmental action in violation of
         the    Constitution         or    laws           of    the   United      States    is
        removed, if the movant was prevented                               from    making       a
        motion by such governmental action;

        (3) the date on which the right asserted was initially
        recognized by the Supreme Court, if that right has
        been newly recognized by the Supreme Court and made
        retroactively  applicable   to  cases   on  collateral
         review; or

         (4)   the date on which the facts                        supporting the claim
        or claims presented could have been discovered through
        the exercise of due diligence.

   28 U.S.C.    §    2255(f).


         In    the    instant   case,          the    Petitioner properly amended his

   Motion,     but    the   amended       Motion          was    filed    more    than     one      year

   after his conviction became final.                          For the arguments that were

   raised for the first time in the amended Motion,                               Rule 15 of the

   Federal Rules of Civil Procedure provides for                            "relation back of



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   amendments             to         the        original               pleading           under            certain

   circumstances." United States v. Pittman,                                  209 F.3d 314,            317       (4th

   Cir.    2000).       Such circumstances occur when "the amendment asserts

   a    claim or defense that arose out of the conduct,                                          transaction,

   or occurrence           set       out — or attempted                  to     be    set    out — in             the

   original          pleading."          Fed.     R.       Civ.    P.    15(c)(1)(B).             Thus,         in   a

   collateral           attack,        a    claim          added    by    amendment           relates            back

   unless       "it asserts          a     new ground for               relief       supported by facts

   that        differ     in   both         time       and      type     from    those          the    original

   pleading set forth." Mayle v. Felix, 545 U.S. 644, 650 (2005).


           B.    DISCOVERY           FOR    MOTIONS          BROUGHT       PURSUANT          TO       28       U.S.C.
           §    2255


           Discovery for motions brought pursuant to 28 U.S.C.                                                 § 2255

   can occur only upon leave of the court,                                 and after a showing of

   good cause by the Petitioner. Rule 6(a), Rules Governing Section

   2255        Proceedings           for        the        United       States        District             Courts.

  According          to   Rule       6(b),        " [a]     party       requesting          discovery            must

   provide reasons             for       the request.             The request must also include

   any    proposed        interrogatories                  and     requests      for        admission,            and

  must specify any requested documents."                                 Good cause for discovery

   is    found       "'where      specific             allegations         before         the     court          show

   reason       to     believe       that       the    petitioner         may,       if     the       facts       are

   fully       developed,         be       able       to    demonstrate          that       he    is       .

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   entitled       to    relief.'"       Bracy v.          Gramley,       520       U.S.     899,    908-09

   (1997)    {quoting Harris v. Nelson,                   394 U.S. 286,              300 (1969)); see

   also     United      States    v.    Roane,        378       F.3d    382,       402-03      {4th    Cir.

   2004)     (clarifying        that     the       good cause          standard          is met when a

   petitioner          establishes           a     prima        facie         case       for      relief).

   Importantly,          the petitioner must               be    able        to point       to specific

   factual       allegations      when making             his     request;          he    "may not      use

   discovery        to     go     on     a        'fishing        expedition'             through       the

   Government's files in search of evidence to support an imagined

   and     fanciful      claim."       United        States       v.     Lighty,         No.    CIV.    PJM

   12-3065,       2014 WL 5509205,               at *3    (D.    Md.    Oct.       30,    2014)    (citing

  United States v. Wilson,               901 F.2d 378, 381 (4th Cir. 1990)).

           Once    good    cause       is        established,          the    district         court   has

   discretion to determine the scope and extent of discovery.                                          See

   Bracy,    520 U.S.       at 909;         see also Roane,             378 F.3d at 394             (using

   an    abuse    of     discretion         standard       to    review        a    district       court's


   denial of discovery in a § 2255 case) . A judge may "authorize a

  party to conduct discovery under the Federal Rules of Criminal

   Procedure       or     Civil        Procedure,          or     in     accordance            with     the

  practices        and    principles         of     law."       Rule     6(a),       Rules     Governing

  Section 2255 Proceedings for the United States District Courts.




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                                IV.    THE PETITIONER'S CLAIMS


           The    Petitioner         has    raised      eighteen    claims     in his       instant

   Motion,       many    with       one     or    more    subparts.     He     has      also    made

   requests       for    six    different         categories     of    discovery,         including

   requests for both documents and interrogatories.                            The court will

   now address each of the eighteen claims in turn. The court will

   also    address       the    arguments         for    discovery     within       the    relevant

   section for each request.^"


          A.     CLAIM   ONE    -    DISHONEST     LAW    ENFORCEMENT        OFFICERS      INVOLVED
           IN CASE


           In    this    claim,       the    Petitioner      asserts        that    Robert     Glenn

   Ford and Clifford Dean Posey,                   who assisted in the investigation

   of     the    Petitioner's          case,      were    also     engaged         in   criminally

   dishonest acts before and/or during participation in his case.

  Mot. at 11. He alleges that their involvement in his case denied

   him of his right to a fair trial, and that the government should

   have    provided       him       with    information      about     the    charges       against

   both    individuals          and    about      Posey's    work      in    the    government's

   investigation. Id. at 11-16. The Petitioner further argues that.


                The   court    finds       that   based on    the     substantial         amount   of
  evidence presented and the extensive filings by both parties,
  there remain no factual disputes, and an evidentiary hearing is
  not necessary to resolve the Petitioner's claims.


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   if   his     trial       counsel       knew about          the     charges      against      Ford and

   Posey,     trial counsel was ineffective for not taking appropriate

   action.      Id.    at 11,       14,     16.    The Petitioner also seeks discovery

   of   documents        and      records         held    by     various      agencies       concerning

   both     Ford      and    Posey,        and    he     requests         permission       to    propound

   corresponding             interrogatories.                 First        Mot.      for        Discovery

   at   26-29.


          The United States asserts                       that      this    claim is       procedurally

   defaulted,         and,       regardless       of     the default,          lacks merit.              Resp.

   at 20.     In his Reply,             the Petitioner asserts that the government

   never told his counsel about the charges against Ford and Posey,

   even     during      direct         appeal.         Reply     at       10-11.    He     claims         this

   prevented him             from      objecting or           raising       the    issue on appeal,

   and, as such, the claim is not procedurally defaulted. Id.

                            1.    Robert Glenn Ford


          The    Petitioner            alleges       that      Robert      Glenn    Ford,       a    former

   police       officer          who      was     appointed          at     the    request          of     the

   Petitioner's         trial       counsel as         an investigator for               the defense,

   ECF Nos. 40,         41, was a "dirty cop," and that his involvement in

   a    bribery       scheme        may    have      tainted        the     investigation           in     the

   Petitioner's case.             Mot.     a t 11.


          Records show that an informant,                           Marcus Adams,        entered into

   a plea deal for the charge of Felon in Possession of a Firearm.

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   United    States          v.    Adams,           2:08crl03,          ECF    No.     37.    As        part    of

   Adams's      cooperation,             he    disclosed that                Ford was       involved          in a

   scheme whereby Ford "accepted bribes from criminal defendants in

   exchange      for     making          false       representations             to     prosecutors            and

   judges       that     the        defendants             had        assisted        him     in     homicide

   investigations,"               thereby       leading         to     reduced       sentences          for    the

   defendants.         Id.    at    1.    On May 7,             2010,     nearly six months                after

   the Petitioner was sentenced and almost a year after his trial,

   Ford   was     indicted          for       these    actions.          United       States       v.     Robert


   Glenn Ford,         2:10cr83, ECF No.               1. Ford's seven-day jury trial was

   held in October 2010,                 and he was sentenced on February 25,                              2011.

   Id. ECF Nos. 57-60,              63,       66,    69,    87,      90. All of these proceedings

   were public and of record.

          The    Petitioner's                 appellate          counsel        filed       their       opening

   appellate brief            on February              29,      2012,        almost     two years          after

   Ford's       indictment,          and        a     year        after       sentencing.           Appellate

   counsel       had     full        benefit           of       knowledge         of        Ford's        public

   indictment,         trial,        and        sentencing.             As     such,        the     court       is

   unconvinced         that       this    claim       could       not    have    been discovered               and

   raised at the             time of appeal,                and it       finds       that the claim is

   procedurally defaulted.                    However,          the     Petitioner argues               that    if

   appellate       counsel          knew        about           Ford's        dishonest           acts,       then

   appellate counsel was ineffective for not raising this claim on

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   appeal,       and     such    ineffectiveness          would     excuse       default.              Mot.

   at 11.    The    court       will    now   examine     the merits       of    this       claim.       If

   i t lacks merit,           then the Petitioner will have failed to show the

   required        prejudice         for      ineffective        assistance          of     appellate

   coimsel, and he will be unable to excuse the procedural default.

          First,       the Petitioner only speculates about what dishonest

   acts     Ford    may       have     been    involved     in    with     regard          to     Ford's

   investigation          of      the      Petitioner's      case.        Id.        at         12.     The

   Petitioner theorizes that Ford may have filed a                              false report or

   taken a bribe from a witness,                  but the Petitioner can provide no

   evidence or example of these,                   or any other,           dishonest acts by

   Ford in the investigation of the Petitioner's case. Id. Frankly,

   this argument is merely speculation,                      with no support in fact.

   There was no evidence or argument presented at Ford's seven-day

   trial, sentencing, or motions hearings, that in any way involved

   the    Petitioner's         case.    See United States           v.    Robert      Glenn           Ford,

   2:10cr83,       Transcripts, ECF Nos.            61,    64,    73,    74,    77,       79,    96-103,

   108-110,      112.

          Further,       the Petitioner's lead attorney,                  Lawrence Woodward,

   indicated           that      Ford      and     Sheila         Cronin,        a         mitigation

   investigator,         "worked very hard and did a good job investigating

   the    case     and    [the       Petitioner's]      backgroimd."           Mot.       Attach.        6,

   H 4.   Cronin stated that she often provided Ford with a list of

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   questions to ask witnesses. Id. Attach. 4,                                 1) 3. The Petitioner's

   other attorney,             Stephen Hudgins,              also stated that,              although he

   relied on Ford's and Cronin's witness interviews,                                      he talked to

   the witnesses himself before and during the penalty phase.                                            Id.

   Attach.     5,    H 8.        In    sum,       defense          counsel      believed        that    Ford

   produced quality work,                but counsel also provided questions for

   Ford to ask witnesses and interviewed witnesses                                    themselves.       Ford


   did not     investigate            the    case       alone,       and counsel          did    not    rely

   solely on Ford's reports.

           Cronin    also       stated           that    she       knew      that   Ford    was     "under


   considerable          stress    from       the       fall-out        of   the    infamous      'Norfolk

   Four'    case."       Id.    Attach.          4,     H 4.       Presumably the          Petitioner's

   defense    team       was    on alert           to    watch      over      Ford's    work,     and yet

   counsel still found no reason to think that he was manipulating

   witnesses or performing any of the acts that the Petitioner now

   speculates       occurred.           Importantly,               Ford's       case      involved      his

   acceptance       of     bribes           in     exchange         for       lower     sentences        for

   defendants,      and i t was not a                 case where any judge or prosecutor

   was     found    to    be    corrupt.          Ford       was    a     person      working     for    the

   Petitioner's          trial        counsel,          at     their         request,      vinder      their

   supervision and direction,                     and with others of                the    Petitioner's

  defense team. The Petitioner offers no basis whatsoever why Ford

  would manipulate witnesses against him or try to harm his case.

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         Additionally,            the        Petitioner              argues          that       the    government

   should     have    told    defense             counsel        about          Ford's       conduct,          as    it

   would have        caused defense                counsel           to question the                  reliability

   and honesty of Ford's reports to the Petitioner's counsel. Mot.

   at 12-13. He bases this argument on Fifth Amendment due process

   principles found in Berger v. United States, 295 U.S.                                               78     (1935),

   and an argument that,                by not providing trial counsel with this

   information,       the government deprived the Petitioner of effective

   assistance of trial counsel.                      Mot.        at 13-14.               This argument is a

   bit far-fetched,         but the court addresses i t below.

         As     the        Petitioner               recognizes,                 the        information              the

   government        had    about        Ford's           misconduct                at    the     time       of     the

   investigation was           highly             confidential              and part            of    an ongoing

   criminal investigation not involving the Petitioner's case.                                                      Id.

   at   13   n.4.    Ford was      not        a    witness       in the             Petitioner's         case.       If

   anything.        Ford     would           have     been           a     defense          witness,          not     a

   government        witness,           so        there        was        no    need        for       impeachment

   evidence.        Ford    had    not        been        indicted             at    that       time,        and    the

   government was still conducting its investigation.                                             There was no

   reason     that    the    government              should              have       provided         confidential

   information       about        the    Ford        investigation                   to    the       Petitioner's

   counsel.     Moreover,         as     reflected              by       the    transcripts             of    Ford's




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   trial,      cited above,          there was no evidence presented that even

   touched upon the Petitioner's case.

           In sum,      the Petitioner's conclusory,             speculative statements

  do     not     show    that   he    was   harmed by    Ford's      involvement        in his

   case,       or   that   Ford's     unrelated      extortion    scheme,     in   which    he

   took bribes          to reduce other defendants'            sentences,     affected the

   Petitioner or affected his Fifth Amendment right to a fair trial

   or his Sixth Amendment right to effective assistance of counsel.

  The     Petitioner was         not    denied any      constitutional        rights     here,

  and,     as such,        the court finds this claim has no merit. As this

   claim has no merit,               the Petitioner fails to show any prejudice

   from appellate counsel's decision not                      to argue this        claim on

  appeal, and he fails to overcome the procedural default.

           The Petitioner's claim for discovery about Ford is further

  without merit.            To receive discovery,            the Petitioner must          show

  good cause.           Good cause is shown,           "'where specific allegations

  before the court show reason to believe that the petitioner may,

   if the facts are fully developed, be able to demonstrate that he

   is    . . . entitled          to     relief.'"     Bracy,     520   U.S.      at     908-09

   (quoting Harris, 394 U.S. at 300).

           The      Petitioner   is    unable   to    meet    this   standard.     To    learn

  about the scope of Ford's criminal acts and when the government

   first knew or should have known about those acts,                        the Petitioner


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   requests     "[a]11     documents          in    the government's            possession              that

   both     refer   or     relate       to     Robert       Glenn       Ford       and       this       [the

   Petitioner's]         case."        First       Mot.    for     Discovery            at       29.     The

   Petitioner has shovm no cause,                    much less good cause,                   as to why

   this request would help him overcome procedural default or prove

   ineffective      assistance         of    trial    counsel.         As   Ford    was      a    defense


   investigator,       it would be the Petitioner's defense counsel that

   knew    of   Ford's    involvement          in    the    Petitioner's           case,         not     the

   government.      While      Ford participated              in a       criminally dishonest

   scheme ^      aid criminal defendants, as discussed above, there is

   no evidence or allegation of record that it in any way involved

   the    Petitioner's      case.      See     United States v.             Robert       Glenn         Ford,

   2:10cr83. The Petitioner fails to show how gaining access to the

   government's        records about           Ford will help               in his       request         for

   relief, and the court declines to grant this discovery request.

                         2. Clifford Dean Posey

           The Petitioner next alleges that there was a second "dirty

   cop,"    Clifford Dean Posey,               working on his case,                 and he argues

   Posey's involvement led to a due process violation. Mot. at 14,

   Posey was a      special agent with the Bureau of Alcohol,                                    Tobacco,

   and     Firearms,     and      he    was        indicted       on    April      5,        2011,       for

   embezzlement,         money      laundering,            wire        fraud,      possessing             or

   receiving stolen firearms,                  and false      statements.           United States

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   V.    Clifford Dean Posey,               3:llcr94,      ECF No.        3.    The Statement of

   Facts for Posey's case indicates that this conduct began in or

   around 2007,         but was not knovm or identified by the government

   until around October 2010,                  well beyond the Petitioner's trial.

   Id.   ECF No,    14.       Posey was sentenced on September 16,                           2011.    Id.

  ECF No.    38.


          As discussed above,                the government argues               that       this claim

  about     Posey        is        procedurally       defaulted.          Resp.        at     20.     The

  Petitioner's          appellate       counsel         filed     their        opening       brief     on

  February 29,          2012,       and the     indictment         against      Posey was           filed

  sealed on April             5,    2011,    and unsealed on April                6,    2011.       Posey

  was sentenced on September 16,                    2011.        Again,    Posey's case is of

  public     record.          The    court    finds       that,     based       on     these    dates,

  appellate counsel                could have      raised       this    claim on appeal,              and

  the    claim     is    procedurally         defaulted.          The     Petitioner,         however,

  argues    that    appellate          counsel      was    ineffective          for     not    raising

  this claim on appeal,                and that such ineffectiveness constitutes

  the     cause    and     prejudice         required       to    overcome        default.          Reply

  at 11.    As     such,       the    court     will      now     examine       the    Petitioner's

  argument to determine if it has any merit.                            If it does,           then the

  Petitioner       may        be     able     to   show      ineffective             assistance       of

  appellate counsel and overcome default.




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           Posey investigated Cory Voss's                         death,       but did not          testify

   at    trial,    and      the    Petitioner does              not     know       the    full   extent        of

   Posey's       involvement.              Mot.    at    15.    The     Petitioner          points        to    a

   trial     exhibit        where        Posey     is    listed        as    the       transcriber        of    a

   phone     call      and       to    a     few    unadmitted          documents           that    contain

   Posey's        name      to     support         his        belief        that       Posey     "played        a

   substantial role in investigating and preparing the evidence in

   this    matter."         Id.       Posey's       dishonest          acts,       however,        were    not

   discovered          by    the      government,             until    over        a     year    after     the

   Petitioner's trial.                Accordingly,            the government did not have a

   duty to give anything to the defense prior to trial,                                             nor did

   they even have anything to give.

           This claim is also entirely speculative.                                    Discovery during

   trial showed what work Posey had done on the Petitioner's case,

   and     the    records          indicated        this       was     minimal.          The     Petitioner

   presents unsupported theories as to what harmful acts he thinks

   Posey may have committed. Mot. at 15, but that is not enough for

   relief.       The     Petitioner can point                  to no        specific harm,           and is

   simply        guessing         that      Posey       may     have        converted          firearms        or

   falsified       records,           without      indicating          any     such       record     or    any

   shred of evidence to support this claim. The Petitioner does not

  make a     claim for           relief or show constitutional harm.                            Because the

   Petitioner fails to present a meritorious claim,                                       he cannot show

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   that    appellate          counsel    was     ineffective        for    not       raising    this

   claim on appeal, and he does not overcome default.

           Not only does the court find this claim to be procedurally

   defaulted,         it also finds that the Petitioner fails to show good

   cause       for    discovery.      The     Petitioner        requests       information      from

   the    government          about     Posey's      involvement        with     his     case    and

   Posey's       illegal      activities.        First      Mot.    for    Discovery       at    28.

   However,      trial counsel already conducted discovery and received

   all     documents          that      showed       Posey's       involvement          with     the

   Petitioner's case.               The Petitioner fails to show good cause for

   further discovery,           as he does not show how gaining access to the

  government's          records       will    assist      him   in overcoming          default    or

  proving        ineffective         assistance      of    counsel.       As    with    Ford,    the

  court        does     not     dispute       that     Posey       engaged       in    criminally

  dishonest           acts     in     other     cases.      The     Petitioner          does     not


  articulate how this current global discovery request will yield

  additional          information       about     Posey's        role     in   his     case.    This

  appears to the court to be an overly broad "fishing expedition,"

  and the Petitioner simply is not entitled to further discovery

  here.


                         3.    Ineffective Assistance of Trial Counsel


          The Petitioner briefly alleges that,                      if trial counsel knew

  of     the    investigations         into    the     law enforcement          officers,       then

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   they were          ineffective              for    failing     to      take    appropriate action.

   Mot.     at       11,     14,        16.      However,        these        brief      allegations          of

   ineffective             assistance            of     trial     counsel           do       not     meet    the

   deficiency          and        prejudice             standard          under      Strickland.            Even

   assuming          counsel            knew     of     the      investigations,               and       nothing

   suggests          they    did,        the     court     has    already         concluded          that    the

   claims have no merit. Thus,                         the Petitioner was not prejudiced by

   any decision trial counsel may have made not to further explore

   the    issue.


                            4.    Conclusion


          The        Petitioner           has         failed     to       overcome       the        procedural

  default on his due process claim about the involvement of Ford

  and Posey in his case. He has also failed to show that trial or

  appellate          counsel        were        ineffective          in     their    actions         regarding

   Ford and Posey. For these reasons. Claim One is DENIED.


          B.     CLAIM      TWO     -    PROSECUTION           FAILED       TO   DISCLOSE          EXCULPATORY
          EVIDENCE ABOUT CO-DEFENDANT MICHAEL DRAVEN


           In    Claim       Two,        the    Petitioner        argues         that    the       government

   failed       to    disclose           evidence        of    co-defendant            Draven's          violent

  criminal        past,       in        violation        of    the     Fifth,       Sixth,         and    Eighth

  Amendments.           Mot.        at     16.        According        to     the      Petitioner,          this

  evidence           would       demonstrate            that     Draven          had     a     particularly

  violent history,               including sexual assaults against children. Id.

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   at 16-17.^^ The Petitioner contends that the government should

   have     turned      this    information       over        to    defense       counsel,       as    it

   would       have     been    important        to     the     mitigation          strategy.         Id.

   Specifically,          the       Petitioner        alleges        that    such         information

   "would         have          added           substantial               weight           to         the

   'equally-culpable-codefendant'                 mitigator          found    by     the    jury and

                 would       have   also   reduced       the       weight    of     the    'abuse      of

   women'      aggravator,"          Id.   at    16.    The        Petitioner       believes        that

   failure by the government to hand over this information violated

   his constitutional rights and the holdings in Brady v. Maryland,

   373    U.S.    83     (1963),      Giqlio      v.    United        States,       405     U.S.      150

   (1972),      and Kyles v.         Whitley,     514 U.S.          419    (1995).      Mot.     at 19.

   The government argues that this claim is procedurally defaulted,

   and,    regardless of the default,                  it has no merit.              Resp.       at 24.

   For the reasons set forth below,                    the court agrees.

           Claim Two i s DENIED.


                  1.    Procedural Default


          As     this     claim      was   not        brought       on     direct       appeal,       the

   government argues it is procedurally defaulted.                                Id.     at 24.      The

   Petitioner argues            in his Reply that              this       claim could not have

   been brought on direct appeal because                            it contains           information

                For    the     purpose     of    evaluating          this    claim,        the     court
   assumes that these allegations are true.


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   that    was     not      disclosed by             the     prosecution.         Reply    at       19;     see

   Bousley,        523      U.S.     at    622        (petitioner's           claim      was    defaulted

   because       it   could have been                "fully and completely addressed on

   direct review based on the record"                          in the case).            The Petitioner

   further argues that a successful Brady claim satisfies the cause

   and     prejudice          standard          required        to      excuse        default.         Reply

   at 19-20       (citing Wolfe v.                  Clarke,    691     F.3d 410,         420    (4th Cir.

   2012)).

           The    court      does        not    agree        with    the     Petitioner         that       this

   claim     was      unavailable              on     direct        review.      Information           about


   Draven's past existed during the time of direct appeal,                                          and,     as

  mentioned           by     the     Petitioner              later      in       this     claim,           such

   information was cited in Draven's sentencing proceedings,                                           which

   occurred on November 17,                    2009.    Case No.       4:08crl6-2,        ECF No.          303.

   The Petitioner's appellate counsel filed their opening brief on

   February 29,            2012.   As such,           the court finds that had appellate

   counsel chosen to pursue this line of investigation, information

  about      Draven's             past     was        available         and      could         have        been

  discovered,          and     the       claim       could    have     been      raised        on    appeal.

  Nevertheless,             the    Petitioner           may     still      be     able    to        overcome

  default,       as a      successful Brady claim would provide the necessary

  cause      and      prejudice.           The       court      will       now    conduct           such     an

  analysis.


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                  2. Brady Claim

           In Brady,          the     Supreme          Court     held that               suppression by the

   prosecution          of    evidence           material        to       the       defendant's           guilt      or

   punishment          violates           due    process.           373    U.S.          at     87.     To    make    a

   successful Brady claim,                      the Petitioner must prove the following

   three    elements:         "[1]         [t]he evidence at                   issue must be             favorable

   to the accused,            either because it is exculpatory,                                   or because it

   is    impeaching;          [2]     that evidence must have been suppressed by

   the State,       either willfully or inadvertently; and                                        [3]    prejudice

  must     have    ensued."           Banks       v.    Dretke,           540       U.S.      668,      691    (2004)

   (quoting       Strickler           v.    Greene,           527     U.S.          263,        281-82       (1999)).

   Prejudice       for       the      final          Brady      requirement                is    met     when       the

   evidence       is    material.           Id.        "The     evidence            is     material          only    if

   there    is a       reasonable probadDility that,                            had the evidence been

  disclosed        to       the     defense,         the      result       of       the       proceeding would

  have been different. A 'reasonable probability'                                             is a probability

  sufficient           to     undermine           confidence              in    the        outcome."          United


  States V.       Baqley,           473    U.S.      667,     682     (1985);         see also Kyles,               514

  U.S.     at     435        (describing             materiality               as     "showing           that       the

  favorable       evidence           could reasonably be                       taken to put              the whole

  case in such a different light as to undermine confidence in the

  verdict").           This       level         of     prejudice           is        also        the     prejudice




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   required       to overcome procedural                default.    Walker v.        Kelly,      589

   F.3d 127,       137      (4th Cir.   2009),

           There       is no question that          the government did not provide

   the    Petitioner's          trial   counsel     with    information          about    Draven's


   past. What the parties now debate is whether this information is

  material under Brady.                 As to whether the information is material

   to the        Petitioner's guilt,           Draven's past crimes do not affect

  whether        the     Petitioner      was     involved    with        the    murder    of    Cory

  Voss.     In fact, Draven's past crimes have little relation to his

   own guilt for the murder of Cory Voss. Although the defense did

   argue     the        other     co-defendants          were      bad     actors        who    were

   attempting          to    blame      the    Petitioner        for      their    crimes,       the

   information about Draven's previous violent acts is iinrelated to

   the murder of Cory Voss and fails to suggest that the Petitioner

  was not involved with the Voss murder.                        The court finds          that even

  had this information been introduced during the guilt phase,"

   the     extensive         direct     and    circumstantial            evidence       about    the


             Although the parties do not argue the first prong of the
   test    for     a   Brady violation,           the    court     does    not    see    how    this
  evidence would be exculpatory or impeaching.                                 Nevertheless,      it
  will examine the arguments set forth regarding materiality.

             The court          is unsure how information about Draven's past
  crimes could even have been introduced at the guilt stage, with
  Draven as a co-defendant who did not testify. See also supra
  note     12.




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   Petitioner's        involvement          in the murder-for-hire                     cannot         support

   any    finding      of     a    reasonable            probability           that    the    proceeding

   would have resulted in a               different outcome.


          When the police searched the Petitioner's house and car in

   December 2007,           some eight months after the murder,                             they found a

   list     of     items,         written           in     the        Petitioner's          handwriting,

   including       a     taser,      Spyderco            knife,        tarp,     trash      bag,       boots,

   gloves, military-style pants, and a black hoodie." The list also

  mentioned the location of Langley Federal Credit Union {"LFCU")

   and a distance of three hundred eighty                                (380)    miles and driving

   travel    time      of    6.25       hours       from      Morgantown,        West       Virginia,        to

  Newport        News,      Virginia.           A    map       was      located        that       contained

   identifying         information         about         Cory     Voss's       car,    and        a   Western

  Union receipt indicated that the Petitioner received $275 from

  Draven's       brother on June               1,    2007.       Telephone and email                  records

   showed    extensive            planning           and       communication           by     all         three

  defendants,          both       before,       during,          and     after     the      murder.         The

  government        established           that       the      Petitioner         had   bought         a    ,357

  magnum         revolver         and     ammunition             the      day     of        the       murder,

  April 29, 2007,             and       then        he        drove     from      Morgantown,             West



             Video surveillance from the night of the murder shows an
   intruder wearing a              black hoodie enter Cory Voss's                            truck while
  Cory Voss is at the ATM.


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   Virginia,       to Newport News,         Virginia. A box of         .357 bullets with

   five missing was            found at the Petitioner's            former residence       in

   Morgantown,          West Virginia.      A video of the ATM at LFCU showed a

   man wearing a hoodie entering Cory Voss's car,                       and Cat Voss had

   already pled guilty and signed a                   statement of facts describing

   the murder of Cory Voss and the Petitioner's involvement.

           The next question is whether the evidence is material as to

   the Petitioner's sentence.               The Petitioner's argument centers on

   how     evidence       of   Draven's     past     would   have     influenced    a    jury

   during the penalty phase,                particularly the weight given to the

   abuse of women aggravator and the equally culpable co-defendant

   mitigator. Mot. at 16. The Petitioner argues that the government

   introduced testimony and incident reports against him to provide

   support        for    the   abuse   of    women    aggravating      factor,     and    his

   counsel could have done the same with the requested materials to

   show that Draven had an equally,                  if not more,      violent past.      Id.

   at 19. He believes at least one juror would have been influenced

   by knowing the government thought that the Petitioner,                          but not

  Draven with his more violent past,                   was deserving of death.            Id.

   at    19-20.


           This argument is a          "red herring."        First,   the jury did find

   the    ecfually culpable        co-defendant mitigator,            even without       this

  extra evidence           about   Draven's     history.      Special Verdict       Form -

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   Selection Phase,            at 2,       ECF No.       291, The information about Draven

   may have added additional support for this mitigator,                                         but it was

   clearly unnecessary because                      the       jury did        find       this mitigating

   factor.       Second,       it     is    unclear           how    evidence      of     Draven's       past

   would affect          the    abuse       of    women aggravator             for       the    Petitioner.

   The past       conduct of Draven and the                         Petitioner are             separate and

   distinct.      Just because Draven had a                         more violent past             does    not

   negate the        Petitioner's violent criminal history.                                The court is

   unconvinced that a               jury would not have considered the abuse of

   women factor to be serious in relation to the Petitioner,                                         simply

   because Draven had past, separate violent acts from those of the

   Petitioner.          Additionally,             the    Petitioner played a                    substantial

   role    in the       crime,      and the evidence                  was    overwhelming that            the

   Petitioner was          the      actual        perpetrator of              the murder;          Draven's

   criminal history does not lower the Petitioner's culpability as

   to   his      role    in     the    crime        of    conviction          as     compared       to    his

   co-defendants.          The       reliability              of    the     penalty       phase     is   not

   londermined       simply         because        information             about     a    co-defendant's

   past was not included.

           The    Petitioner's             cite    to     Banks       v.     Dretke,       540    U.S.    668

   (2004),       is not on point here. Mot. at 16-17.                              In that case,          the

   Court      held      that     information             about        an     informant's          role   was


  material,       as     that    information was                   central    to   the prosecution's

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   argument about the defendant's own propensity to commit violent

   acts     and        the        jury     was     unable          to     accurately               assess      the

   informant's credibility without the withheld information. Banks,

   540    U.S.    at    700-01.        That   evidence      went        to    the       heart      of   the   case


   and dealt directly with how the jury perceived the defendant's

   culpability and propensity                      for    violence.            Id.      Such evidence           is

   quite    different             from     introducing         a    co-defendant's                  history     in

   order     to        weaken          already-established                violent             acts       of    the

   Petitioner during                the    penalty       stage,         after       the       Petitioner has

   been found guilty of the murder in phase one.

           Further,          in     this      case,      the       jury        found          two       statutory

   aggravating factors in the eligibility phase of trial,                                               and four

   non-statutory aggravating factors in the penalty selection phase

   of trial. Special Verdict Form - Eligibility Phase, ECF No. 255/

   Special Verdict Form - Penalty Selection Phase, ECF No. 291. The

   jury also found two statutory mitigating factors,                                          and a majority

  of     jurors    found eleven other non-statutory mitigating factors,

  eight     presented             by     defense      counsel           and    three          of     their    own

   creation.       Special Verdict               Form -        Penalty Selection Phase,                        ECF

  No.     291.    The        jury      weighed     these       factors,            and    even       though     it

   found more mitigating factors,                        it clearly attached siibstantial

  weight     to        the    aggravating          factors,         such           as    to    outweigh        the

  mitigators.          Thus,        even had the          evidence            of    Draven's past             been

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   introduced,          the Petitioner is unable to show prejudice. In light

   of the jury's decision on the other aggravating and mitigating

   factors       and     the    apparent      weight       given         to    the    mitigating      and

   aggravating          factors,      along       with     all       the       evidence      introduced

   against the Petitioner during the guilt and penalty phases,                                        the

   court    is    not       convinced that         there    is       a   reasonable probability

   that    the proceeding would have been different,                                  if    evidence of

   another       individual's         past    had        been    introduced.           As    such,    the

   Petitioner i s unable             to   show that       the    information about Draven's


   crimes is material, and the court finds that this Brady claim is

   both procedurally defaulted and without merit.

                   3.   Ineffective Assistance of Trial Counsel


           The    Petitioner         also    raises       an     ineffective           assistance      of

   trial    counsel         claim.    Mot.    at    20-21.       He      argues       that    "[t]o   the

   extent        that    counsel      failed        to     investigate           and       present    the

   information about Draven, despite the evidence being withheld by

   the prosecution,             they were ineffective because the information

   supported the defense." Id. at 20. The Petitioner further claims

   that his attorneys were ineffective for not filing a motion to

   set    aside       the    death penalty or             for    a       new    sentencing hearing

  after      the        government        filed     a     position            paper    for     Draven's

   sentencing,          which    revealed some of Draven's violent                            past.   Id.

  at 21.         In     support       for     why        counsel          should       have     further

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   investigated the matter,                   the Petitioner cites the testimony of

   Draven's       brother         at   trial        and    the     brother's       allegation             that

   Draven raped him and his sister. Id. at 20 n.8.

           Counsel      does       not     have       a    duty     to     include           co-defendant

   background         information        in     the       penalty phase       or       to perform an

   in-depth investigation because of a statement made by a witness

   during      trial.       Moreover,         counsel's          decision    on    how        to    proceed

   after       judgment      is    entitled          to    deference,       and        the    Petitioner

   fails to show how declining to request that his sentence be set

   aside based on information about Draven was deficient conduct on

   the    part of      counsel.        Even had counsel             discovered more                evidence

  on     Draven's       past      conduct,          the    lack     of    materiality          discussed

  above        shows    that       the     Petitioner            cannot     prove       a     reasonable

  probability          of    a     different         outcome        had    counsel          argued        this

   information during sentencing or used it to support a motion for

  resentencing.         For these reasons,                  the    Petitioner fails                to prove

   that trial counsel's conduct was either deficient or prejudicial

  to     the   Petitioner.         There      was    no    ineffective      assistance             of   trial


  counsel on t h i s         claim.


                  4. Discovery

          The    Petitioner            also    requests           discovery       in    the        form    of

  documents and corresponding interrogatories about Draven's past

  actions       and    the       investigation            into    Draven's    background.               First

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   Mot.        for    Discovery              at    21-25,      30.    The     Petitioner         suggests          no

   purpose           for    the    requested documents                  other        than using            them    to

   prove        Draven's          past.           For    purposes       of    this     claim,         the    court

   assumed the truth of the Petitioner's allegations about Draven^®

   and        still       found    that           the    Petitioner         failed     to   make       a    claim.

   Accordingly,             the court finds that the Petitioner fails to make a

   showing           of     good    cause,              or   any     cause,     for     the      request          for

   discovery and corresponding interrogatories.


         C.    CLAIM       THREE        -    COUNSEL         REKDERED    INEFFECTIVE          ASSISTANCE           AT
   GUILT PHASE OF TRIAL BY FAILING TO INVESTIGATE,                                     PRESENT,
   HIGHLIGHT, AND/OR ARGUE EVIDENCE OF INNOCENCE

              The     Petitioner             next       argues       that     his     trial      counsel          was

   ineffective during                       the guilt phase            for     failing      to    investigate

   and present              evidence          regarding his            innocence.        Mot.         at    21.    He

   cites multiple pieces of evidence and potential testimony that

   either were not                introduced at              t r i a l or that he believes were not

   fully investigated by counsel,                              and the court will address each

   of these witnesses and types of evidence in turn.

              To prove ineffective assistance of counsel,                                   the Petitioner

  must        show        that    (1)       counsel's         representation          was     deficient           and

   (2)    that        he was prejudiced as                     a     result.    Strickland,            466    U.S.

  at 693.           The    court        must       evaluate        counsel's        conduct      at    the    time


                See supra note 11 and accompanying text.


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   such decisions were made,                     and not with the "distorting effects

   of hindsight."               Id.    at 689.       Additionally,         counsel's decision to

   pursue certain lines of defense is owed deference when based on

   reasonable professional                     judgment.      See    id.     at    681.      " [S]trategic

   choices        made         after    thorough       investigation              of   law     and     facts

   relevant          to     plausible      options       are    virtually          unchallengeable."

   Id.    at 691.           This helps to prevent a                court from second guessing

   counsel's         strategy,         after     such a       strategy,       although reasonably

   pursued, was not successful. See id.

                     1.     Chad Costa


           The Petitioner first argues that counsel should have called

   Chad        Costa      to    testify    during       the    guilt       phase       of    trial.    Mot.

   at 21-25.           He      asserts     that       because        defense       counsel       did    not


   introduce witnesses who knew the Petitioner in the years prior

   to the murder and arrest,                    the prosecution was able to argue that

   there       was     no   evidence      to    counter      the     claim    that      the   Petitioner


  was      a     cold,         calculated        killer.       Id.    at     22.       The    Petitioner

   contends          that      Chad    Costa     could      have     testified         as    someone    who


   knew the Petitioner in the                        "years that preceded the murder and

  Runyon's arrest," as Costa met the Petitioner in the second half

  of 2007, when they would drive together to New Jersey to work in

  clinical           drug      studies.        Id.    This     contention         again       reflects    a

  distortion of                the    facts,    as    Costa did not          know the         Petitioner

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   before the murder. The murder occurred on April 29,                                2007, but in

   Costa's declaration,              submitted by            the    Petitioner,       Costa states

   that    he   met     the      Petitioner          "in   the   second   half    of    2007."    Id.


   Attach.      7,    H 2.       Costa knew the Petitioner briefly before the

   Petitioner was arrested on March 4, 2008, which is why Costa was

   questioned by authorities.

           The Petitioner next alleges that Costa could have testified

   that the Petitioner had a                   tendency to boast,             but the Petitioner

   never     told     Costa       that    he     killed      anyone.      Id.    at    22-24.    This

   argument      does      not    relate        to    the    Petitioner's       innocence.       Just

   because the Petitioner did not tell Costa that he murdered Cory

   Voss does not mean he is innocent.                         It is quite conceivable that

   one might brag or exaggerate to sound tough, but choose to avoid

   mentioning an actual crime, such as murder.

           The Petitioner also argues that the police told Costa edaout

   the    crime,      and     that       doing       so    influenced     Costa's      grand     jury

   testimony.        Id.    at    23.     For    this       reason,     the    Petitioner claims

   that      the      police         investigation               into    the     murder-for-hire

   conspiracy,          and        the     Petitioner's               participation       in      the

   conspiracy,        was     unreliable,            and    Costa's     testimony      could     have

   shown the jury this unreliability.                        Id. at 23-24. This simply is




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   not true.^® The police telling someone about the facts of a crime

   is hardly coercion or improper conduct,^'

         not   true.     Finally,   the     Petitioner      argues      that    Costa       had

   seen the Petitioner with a          black,     six-shot revolver,           and counsel

   should have questioned Costa to bring out inconsistencies in the

   government's     statements      about       the    murder    weapon,   which          could

   have provided the       jury with reasonable do\abt about whether the

   Petitioner's     gun   was   used   to       shoot   Cory    Voss.    Id.    at    22-23.

   These alleged inconsistencies deal with the type and number of

   bullets used,       the fact that the gun was black or "blued,and

   the   pattern    of    the   gunshot     wounds.       This    argument       does      not

   persuade the court that counsel acted deficiently. Counsel could

   reasonably      have     decided       not     to     draw     attention          to     the




          The court has reviewed the grand jury testimony and finds
   that nothing iintoward occurred.

           Although grand jury testimony is not normally admissible,
   it would have    been admissible    to  impeach Costa,   had he
   testified, and there is plenty in the testimony that could have
   been used for such a purpose.    Accordingly, were Costa's grand
   jury testimony to be introduced, it would only have added to the
   evidence about the Petitioner's gun ownership, and the pawning
   of such gun, and would have been quite damaging.

           "Bluing" refers to a procedure that is done to protect a
   gun against rust, and is so named because the process gives the
   gun a blue-black appearance.



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   Petitioner's gun ovmership and use,^® and the court fails                                             to

   accept the Petitioner's argument that drawing more attention to

   the gun and his             gun ownership would have created a                              reasonable

   probability of a different result.

          The court declines                to second guess counsel's decision not

   to call Costa to the stand,                    other than to comment in hindsight,

   after a      review of the grand jury testimony,                              that it was a         good

   one.   Counsel is afforded much deference in litigation strategy,

   and    this    decision           does    not       appear        to    be     unreasonable.        The

   Petitioner simply fails                  to show that Costa's lack of testimony

   undermines         the    confidence           in    the    outcome           here,     particularly

   given their after-the-murder relationship.                                   The Petitioner shows

   neither cause nor prejudice here.

                 2.    Cat Voss


          The    Petitioner           next       argues       that        his    trial     counsel     was

   ineffective         for     not    calling          his    co-defendant.              Cat   Voss,     to

   testify at         trial.       Mot.     at   25-26.       This    argument        is    based on a

   declaration        by     Cat     Voss,       secured      by     the        Petitioner's     current

   hcQaeas coiinsel on September 10,                    2015,      in which Cat Voss asserts

   that she did not have independent personal knowledge about the

   Petitioner's involvement in the conspiracy to murder Cory Voss.


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               See supra note 17 and accompanying text.


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